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August 28, 2019
Via E-filing

Honorable Karen M. Williams
United States Magistrate Judge
Mitchell H. Cohen U.S. Courthouse
Ath & Cooper Streets, Room 2040
Camden, New Jersey 08101-0888

Re: | Sandhya Kamineni and Arun Kandra v. Tesla, Inc.
U.S.D.C. for the District of New Jersey; Docket No. 19-cv-14288
File No. 10121-1908493

Dear Judge Williams:

Our office represents Tesla, Inc. in the above referenced matter. An Initial Scheduling
Conference with Your Honor is currently scheduled for September 4, 2019. Please accept this
letter as a request to adjourn the Scheduling Conference pending the resolution of Tesla, Inc.’s
Motion To Dismiss Plaintiffs’ Complaint and Compel Arbitration Pursuant to Fed. R. Civ. P.
12(b)(6), which was filed on July 3, 2019 and returnable before Judge Robert B. Kugler on
August 5, 2019. By way of necessary background, Tesla, Inc.’s motion requests that this Court
dismiss Plaintiffs’ Complaint so that this matter may proceed to binding arbitration consistent
with the contractual arbitration provision contained in the sales agreement for the vehicle at issue
in this matter. Plaintiffs have opposed the motion. Because this motion remains pending, Tesla,
Inc. respectfully requests an adjournment of the initial scheduling conference until the motion to
dismiss is resolved. Plaintiffs’ counsel consents to this request.
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Thank you for your consideration in this matter,

 

MJW/ch
cc: Michael Power, Esquire (via email)
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